Case 6:20-cv-00701-WWB-DCI Document 13-2 Filed 05/04/20 Page 1 of 22 PagelD 135

Exhibit 1
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Case 6:20-cv-00701-WWB-DCI

Office of Diversion Control .

Document 13-2 Filed 05/04/20 Page 2 of 22 PagelD 136

BURNSIDE

LAW GROUP.
August 21, 2017

~ Drug Enforcement Administration

Attention: Neil D. Doherty
- Depaty Assistant Administrator

RE: Request for Religious-Based Exemption to Controlled Substances Act
To Whom It May Concern:

The following constitutes the request for a religious-based exemption ‘by Soul Quest
Church of Mother Earth, Inc., d/b/a, Soul Quest Ayahuasca, Church of Mother Earth Retreat &
Wellness Center (“Soul Quest”) to the provisions of the Controlled Substances Act, 21 U.S.C. §§
801, ef seq., specifically as it pertains to the ritual use by Soul Quest of ayahuasca for its
sacramental activities. Soul Quest asserts its eligibility for such an exemption, pursuant to the
United States Supreme Court's decision in O Centro Espirita Beneficente Uniao Do Vegetal v.
Gonzalez, 546 U.S. 418 (2006) (“Gonzalez”), and the provisions of the Religious Freedom
Restoration Act of 1993, 42 U.S.C. §§ 2000bb, ef seq., (“RFRA”).

Soul Quest and its adherents hold a commun set of beliefs regarding the cause, nature. and
purpose of the universe, asserting that the creation of all things is the result of the divine of the
Great Spirit. The Great Spirit has provided to all being an cternal force. one that permeates all

beings.
As will be discussed throughout this exemption request, Soul Quest and its adherents

sanctify and uphold this core religious belief through its devotional and ritual observances. The
foundation for all religious beliefs and practices within Soul Quest are premised upon its belief in

’ aspecific moral code binding the conduct of human affairs.

As the fedcral courts have continuously recognized, the Government cannot impose a
religious litmus test, designed to favor certain types of religions or religious practices over others.
The primary effect of a government policy or practice cannot be designed to inhibit religion.
Lemon v, Kurtzman, 403 U.S. 602, 612-13 (1971). In other words, any consideration of an
exemption application cannot have the effect of “officially prefer{ring} fone religious
denomination] over another.” Larson v. Valente, 456 U.S, 228, 244 (1982).

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Park. Centrat. Unit 9, 109 Hstey Avenue, Oartmouth, NS, Canada, 838 1S8
Ph: (902) 466-3066 www. burnsidelaw. ca Fax: (902) 466-4803 «

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Case 6:20-cv-00701-WWB-DCI

Document 13-2 Filed 05/04/20 Page 3 of 22 PagelD 137

The United States Supreme Court has explained thats airy + codoreement ofa inajority icligion

“sends the ancillary message to .. . nonadherents ‘that they are outsiders, not full members of the:

political community.” Sania Fe Indep. Sch, Dist. v. Doe, 530 U.S. 290, 310 (2000) (quoting Lynch

v, Donnelly, 465 U.S..668, 688 (1984) (O’Connor, J, concurring). The. Equal Protection Clause .

likewise prohibits the Goverment from impermissibly discriminating among persons based on
religion. De La Cruz v. Tormey, 582 F.2d 45, 30 (9th Cir. 1978).

Accordingly, any consideration by the Executive Branch: ofa Teligious exemption to the
provisions of the Controlled. Substances Act must be made so as not to disfavor minority religious
groups. The refusal or inability of the. Government to attend to this, would. constitute violations of
the First Amendment’s Free Exercise and Establishment Clauses, 23 well as the Fourteenth
Amendment's (implicit within the Fifth Amendment) Equal Protection Clause. Effectively, the
Drug Enforcement Administration must consider the exemption application so as to vindicate a

"Standard that would maximize any collision with religious freedoms. This is consistent with both |

the effect of the Supreme Court’s decision in the Gonzalez case, above, and with the tenets of the
RFRA. Official action that targets religious conduct for distinctive treatment cannot be shielded
by mere compliance with the requirement of facial neutrality.” Larson, 456 U.S. at 254-55
(holding that a facially neutral law or regulation violated the Establishment Clause in light of
legislative history demonstrating an intent to apply regulations only to minority religions); Village
of Arlington Heights v. Metro. Housing Dev. Corp., 429 U.S. 252, 266-67 (1977).

In order to facilitate the DEA’s examination and its granting of a religious exemption, this
application for exemption will provide a full background on Soul Quest, inclusive of a description

- of its activities, its sincerely-held beliefs, and its other recognition as being a recognized religious _

institution under state and federal laws. It is Soul Quest’s reasonable expectation that, upon serious

consideration by the Drug Enforcement Administration and any cooperating agencies, that Soul .

Quest will be deemed eligible for its religious-based exemption.

Soul Quest has taken the liberty of breaking down the issues within the following narrative,
designed to fully apprise DEA on its qualifications for the requested exemption. The individuals
assessing this material will note that Soul Quest embodies many of the same religious.and moral
principles of other religious faiths, inclusive of core Judeo-Christian values. These values arc
joined with the embracing of the belief systems of traditional indigenous civilizations including,
but certainly not limited to, those of Native American tribal beliefs and practices. Indeed, one
might analogize Soul Quest with the belief system and canon of the Unitarian Universalist Church,
which embraces and weaves the religious beliefs, principles practices and morays of a multitude
of religious and even non-religious faiths into its own faith. See http://www.uua.org/beliefs/who-
we-are/beliefs,

Supportive materials relating to this breakdown of the nature of the Soul Quest faith and
its liturgy are attached to this decument. Ultimately, it is reasonably anticipated that DEA will

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_ Case 6:20-cv-00701-WWB-DCI._Document 13-2 Filed 05/04/20 Page 4 of 22 PagelD 138

grant Soul Quest’s application for exemption, determining that Soul Quest meets the necessary
criteria including, as established by the U.S. Court of Appeals for the Tenth Circuit in US. v.

Meyers, 95 F.3d 1475 (1996) (acknowledging that the threshold for determining sincerity of
religious beliefs is low), U.S. v. Meyers, 906 F. Supp. 1494, 1501 (D. Wyo. 1995) (so long as the
stated factors are “minimally satisfied, the practice should be considered religious”).

Finally, prior to engaging in the core substance of discussion regarding the underpinnings
‘and foundation of Soul Quest, it must be noted that the Church ~ considering the DEA’s concems
regarding the use of controlled substances — is limiting its exemption request to the sacramental
use of ayahuasca ~ the traditional plant fundamental to the sacrament. At present, Soul Quest has
removed the use of Sanagna and San Pedro from its listed sacramental plants. Although important,
these other listed substances are not absolutely critical to the ability of the Church to Carry out its
religious sacraments. Ayahuasca i is absolutely critical to the sacrament, and thus the ability to
practice the tenets of the Sou! Quest faith.

D JPTION OF THE SOUL QUEST C H.

L Soul t's Reli ous Prin
A. Introduction

Soul Quest is an inter-discipline convocation of. medicine men vand: women, ‘standing as an
independent branch of Soul Quest Church of Mother Earth.

Soul Quests rests its religious principles upon a foundation of ancient, sacred teachings,
writings, records and traditions of pre-colonial and pre-conquest indigenous peoples including, but
not limited to, those indigenous groups inhabiting Central, North and South America, the Pacific
Islands, Japan, Korea, China, Philippines, Thailand, Burma, India and Tibet. The traditional,
sacred religious practices of these groups are embodied within the traditional, natural healing
practices of Soul Quest; the fulfillment of these practices is designed to preserve and promote these i
sacred beliefs. Soul Quest honors these ancient sacred healing traditions, believing that the
fulfillment of these rituals flows from its Church in Orlando, Florida, eternally spreading
throughout the Earth and cosmos.

Through the guidance of the Great Spirit, Soul Quest seeks to educate and embrace all
individuals. It runs a healing ministry, counseling and natural medicine school, designed to inspire
our followers and members to integrate our Ministry, as directed by the Great Spirit, into every
aspect of their lives. Soul Quest holds spiritual classes and services (in the Native American style,
based upon the seasons); worships in music and song; shares personal professions of faithin action; _
enact plays; and provides street ministry activities, spiritual materials and education based upon
our traditional, indigenous, and ecological-inspired faith.

3|Page

Page 3

_ Case 6:20-cv-00701-WWB-DCI.. Document 13-2. Filed 05/04/20 Page 5 of 22 PagelD 139

_B, © Fundamental Moral & Ethical Tenets

The fundamental tenets of Soul Quest” s religious beliefs and practices are premised upon
a belief in the tights of Mother Earth. .

Soul Quest believes that

a. Everyone and everything is part of Mother Earth, an indivisible, living

community of interrelated and. interdependent beings with &. common
destiny; acknowledging that Mother Earth is the source of life, nourishment
and learning, and providing everything | needed to live a fulfilled existence.
Further, Mother Barth is part of a greater creation, composing all existence
throughout the cosmos, as originated by the Great Spirit.

b. The modern capitalist system and all-forms of depredaiion, exploitation,
abuse and contamination have caused great destruction, degradation and
disruption of Mother Earth, putting life as we know it today at tisk through
phenomena such as climate change. A core component of Soul Quest is
designed to educate and liberate people from: any economic system based
upon amoral practices, and to embrace one that protects and sanctifies
Mother Earth by wholly embracing moral tenets of the faith, and thus —
vindicating our purpose before the Great Spirit.

c. In a globally interdependent living community, it is not possible to
recognize the rights of only human beings without causing an imbalance
within Mother Earth, and to upending the purpose for our existence as
guided by the Great Spirit.

d. in order to guarantee human rights, it is necessary to recognize and defend
the rights of Mother Earth and all its beings, The religious tencts of Soul
Quest are designed to embrace cultures. and. religious practices that vindicate

the interests of Mother Earth and the Great Spirit.

e, The Soul Quest Church is conscious of the urgency of taking decisive,
collective action to transform structures and systems that cause climate
change and other threats to Mother Earth, consistent with the intent of the
Great Spirit.

f. in abiding spiritual belief that indigenous plant life i is of the highest value
for use in natural healing treatments and — .for purposes of ayahuasca ~ for
fulfilling the sacred sacraments of Soul: ‘Quest Church. Soul Quest

4{Page

Page 4

Case 6:20-cv-00701-WWB-DCI Document 13-2 Filed 05/04/20 Page 6 of 22 PagelD 140

proclaims such plant life as sacred, that it is embodied by the Great Spirit,

and that ail materials stemming from such life must be accorded dignity,
~ protected from threat or violation and defended as a holy sacrament.

2. Embodies the principles of the Universal Declaration of the Rights of
Mother Earth, as a common standard of achievement for all peoples and all
nations of the world, and that. it is incumbent upon Soul. Quest and its
adherents to promote the embodiment of this fundamental respect for the
Sacred nalure of the planet and all ofits occupants, as being embodied by
the Great Spirit.

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C. Articles of the Soul Quest Faith — Metaphysical Underpinnings &
Comprehensiveness

Soul Quest and its adherents believe in the Creator, the Great Spirit. Soul Quest and its
adherents believe that the Great Spirit made all people who have ever and will ever exist, as free

and equal beings.

Soul Quest and its adherents recognize the inherent, ancestral, sovereign tights granted to
all people by the Creator, human conscience, international law and legal constructs of reciprocity,
mutuality and comity, which cannot be dismissed or extinguished.

Soul Quest and its adherents believe that we derive from and that we may become like the
traditional, indigenous communities who have occupied Mother Earth; and that ‘through the
descendants of these indigenous peoples, we have claimed the authority to form an indigenous
traditional organization based upon the records of their teachings a and wisdom, their customs and
ceremonies.

Soul Quest and its adherents acknowledge the sacred texts of all traditional religions and
religious traditions regarding the principles of sacred expression and natural medicine. Soul Quest
and its adherents affirm and support traditional indigenous principles (also, incorporating
principles of traditional Christian teachings) for spiritually-based health care.

Soul Quest maintains as its fundamental mission the restoration of divine wisdom and
knowledge of the benefits to health and life provided by the Great Spirit through Mother Earth.

Soul Quest and its adherents affirm that such restoration can only occur through traditional
ceremonies, sacraments, scriptural and spiritually-valid moral science (based upon natural law to
assess, improve and restore good physical, mental and spiritual health).

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Soul Quest uses the traditions and teachings espoused within its sacred texts and scriptures _
to gather insight for the restoration of spiritual, physical and mental health of all beings. Although
there is respect for principles of modem science, Soul Quest bases its teachings and practices upon
the guidance of the Great Spirit and the laws of nature, as bequeathed on all people, children of
Mother Earth.

Soul Quest and its adherents believe that, a fundamental truth of its faith is embodied within
the belicf that, as children of the Great Spirit, there is entitlement to, as part of natural law, the
following freedoms:

a. Freedom of thought, expression and speech.

b, Freedom of religion entailing, in part, sacred rights of worship, methods of healing,
respect for traditional lifestyle.

c. Freedom of education.

d. Freedom of assembly.

e. Freedom of personal security.

f. Freedom of self-determination, including as an indigenous group as defined under
the United Nations Declaration on-the Rights of Indigenous Peoples (“UNDRIP”):
hitp://www.un.org/esa/socdev/unpfii/documents/DRIPS _en.pdf, and as endorsed
by the U.S. Govemment,)

Further, Soul Quest espouses and embodies the principles that all men and women have been
endowed with sufficient intelligence for self-governance to ensure the guarantees of those
freedoms; to establish just and morally righteous methods of interacting with one another; and to
the provide for maintenance of a tranquil and secure domestic life infused by the blessings of the
Soul Quest faith.

2. of the

Soul Quest and its adherents hold the following religious convictions as being core to their
faith: .

a. First Tenet; Mother Earth
(1) Mother Earth is a living being.

' United States of America Government, Office of the Press Secretary, “Remarks Made by the
President at the White House Tribal Nations Conference," December 2010, and located at
www. whitehouse. gov/the-press-office/20 1 0/12/16/remarks-president-white-house-tribal-nations-
conference. ,

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_ Page 6
Case 6:20-cv-00701-WWB-DCIL_Document 13-2 Fi 9/04/20 _P 8.0f 22. PagelD 142

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Mother Earth is a unique, indivisible, self-regulating community of interrelated
beings that sustains, contains and reproduces all beings.

Each being i is defined by its relationships as an ‘integral part of Mother Earth.

The inherent rights of Mother Earth are inalienable in that they arise from the same
source as existence.

Mother Earth and all beings are entitied to all the inherent rights recognized in this
Declaration without distinction of any kind, such as may be made between organic
and inorganic beings, species, origins, use to human beings, or any other status.

Just as human beings possess rights, all other beings also possess rights which are

. Specific to their species or kind and appropriate for their tole and function within

the communities within which they exist.

The rights of each being are limited by the rights of other beings and any conflict
between their rights must be resolved in a way that maintains the integrity, balance
and health of Mother Earth.

b, Second Tenet: Inherent Rights of Mother Earth

Mother Earth and all beings of which she is composed possess the following
rights.

a, The right to life and to exist:

b. The right to be respected;

c. The right to regenerate its bio-capacity . and to continue its vital

cycles and processes free from human disruptions;

d. The right to maintain its identity and integrity as a distinct, self-

regulating and interrelated being;

The right to clean water as a source of life;

The right to clean air,

The right to integral health;

The right to be free from contamination, pollution and toxic or

radioactive waste;

The right to not have its genetic structure modified or disrupted in a

manner that threatens its integrity or vital and healthy functioning:

j- The right to full and prompt restoration for violation of the rights
caused by. human activity.

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Each being possesses the right to a place and to play its role in Mother Earth for her
harmonious function.

Page 7

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Case 6:20-cv-00701-WWB-DCI._Document 13-2 Filed 05/04/20 .Page.9.0f 22 PagelD.143

G) Every being has the right to wellbeing and to live free from torture or cruel treatment
by human beings.

e Third Tenet: Obligations of Human Beings to Mother Earth

‘(1) Every human being is responsible for respecting and living in harmony with
Mother Earth.

(2) Human beings and all human institutions must:

a, Act in accordance with the rights and obligations recognized under
the fundamental tenets of the Soul Quest faith; .

b. Recognize and promote the full implementation and enforcement of.
‘the rights and obligations recognized under the fundamental tenets
of the Soul Quest faith,

c. Promote and participate in learning, analysis, interpretation and
communication about how to live in harmony with Mother Earth in
conformity with the fundamental tenets of the Soul Quest faith.

d.. _ Ensure that the pursuit of human. well-being’ ‘contributes to the well-
being of Mother Earth, now and in the future;

e. Establish and apply effective norms and laws for the defense,
protection and conservation of the rights of Mother Earth;

f. Respect, protect, conserve and where necessary, restore the
integrity, of the vital ecological cycles, processes and balances of
Mother Earth,

g£ Guarantee that the damages caused by human violations of the
inherent, natural rights recognized under the fundamental tenels of
the Soul Quest faith are rectified, and that those responsible are held
accountable for restoring the integrity and health of Mother Earth;

h. Empower human beings and institutions to defend the rights of
Mother Earth and of all beings;

i. Establish precautionary and restrictive measures to prevent human
activities from causing species extinction, the destruction of
ecosystems or the disruption of ecological cycles;

j. Guarantee peace and eliminate nuclear, chemical and biological
weapons;

k. | Promote and support practices of respect for Mother Earth and all
beings, in accordance with their own cultures, traditions and
custonis;

1, Promote economic systems that are in harmony with Mother Earth
and in accordance with the natural rights recognized by the Sou!
Quest faith.

B[ Page

Page 8

Case 6:20-cv-00701-WWB-DCI. Document 13-2 Filed 05/04/20 Page 10 of 22 PagelD 144

. dd. Fourth Tenet: Precepts of the Faith
(1) Soul Quest embodies the belief that all beings — inclusive of ecosystems, natural
communities, species and all other natural entities - are to be worshiped and
protected, as we are all coextensive with Mother Earth.

(2) All beings possess the same inherent rights of all other beings.

4. Origins and Teacher Prophet
Soul Quest identifies its origins, and teacher-prophet. as the Spirit of Ayahuasca composed
of the two sacred plants “Bonisteriopsis Caapi” and “Psychotria Viridis.” The beliefs, purposes
and guidelines are further defined within the attached material - sacred writings known as the
“Ayahuasca Manifesto.”

The sacred nature of the spirit of Ayahuasca is proclaimed within the Manifesto as follows:

1 am the spirit of A yahuasca. For the first time, 1 reveal myself
through the “Word” to make an emergency call io ‘all the Human
Beings on the. Planet, especially to the Light Seekers, as | must
expand beyond the Amazon River Basin. With my physical

expansion, 1 intend to facilitate the spiritual transformation

currently stirring the human species ...

! am a spirit of spirits. I operate from a vibration superior to the
spirits who compose me. [ am of a hierarchy superior to that of the
spirit of Ayahuasca and of Chacruna. I am the medicine resulting
from the mixture of Ayahuasca and Chucruna, Although they give
me the name of one of them, my sacred magic does not come from
either one of them, My magic resides in the synergy created by the
sacred mixture.

4, Scripture & Collected Writin Faith

The Ayahuasca Manifesto provides the key outline to the guiding principles of Soul Quest.
Effectively, it is very much akin to other faiths’ sacred writings, explaining the tenets of the faith,
such as the Jewish Talmudic writings and the Mishnah. Soul Quests’ beliefs, purposes and
guidelines are provided through channeled material documented in Ayahuasca Manifesto. The
Manifesto (attached as supplemental material for review in this religious exemption request)
provides knowledge and direction, inclusive of details about Soul Quest’s mission, as well as ©
instructions on the following topics:

a. __ Role in the Expansion of the Human Consciousness
b. Purpose with Human Beings

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Page 9 _

nan ASE, 6:20-Cv-00701-WWB-DCI Document 13-2 Filed 05/04/20 Page 11 of 22 PagelD 145

¢. Respect and the Sacred Nature of Ayahuasca
d.-Benefitsof Use.

€. Guide for Conducting Ayahuasca Ceremonies
f. Planetary Mission

Other fundamental religious ethical requirements of Soul Quest are included i in its Code of
Ethics. The Code of Ethics contains ‘key principles, edicts. and other educational ‘statements:
regarding Soul Quest and its sacraments ~ inclusive’ of the use of ayahuasca. A copy of the Code
of Ethics j is included in the supplemental materials to this’ exemption request correspondence.

5, eli vocacy & Educati
Soul Quest, as part of its miligioes purpose, to bring pleasure to God and Great Spirit of

Ayahuasca also incorporates an affirmative religious advocacy and educational component into its
mission. This is achieved, at least in part, by:

a. Producing disciples who will celebrate the teachings: and wisdom of the Great Spirit
in cooperative worship; are devoted to the four (4) boundless and unequaled states
of mind: Love, Compassion, Joy and Equanimity; are possessed with love for
everyone and every living being; and are permeated and bound by the spheres of
influence and dynamic teachings of our elders.

b. ‘Training, educating and working for those i in need. This includes, in this modem -
era, activity on the Internet, including with other ministries with similar moral
beliefs and philosophies. This also entails Soul Quest’s involvement with other
faiths premised upon indigenous religious beliefs, and with auxiliaries of the Soul
Quest Church of Mother Earth, Inc.

¢. Educating its members on the separation of religious. affairs from secular affairs,
consistent with the requirements of Section 501(c)(3) of the Intemal Revenue
Code.? Soul Quest is already recognized by Internal Revenue Service, the State of
Florida, and Orange County, Florida, as a religious-based institution, having

2 The Guidelines provided under Section 501(c)(3) of the Internal Revenue Code were readily
achieved by Soul Quest in its application for non-profit, religious institutional status. Soul Quest,

among other aspects, practices and supervises a regular religious ceremony designed to espouse
its teachings and belief structure; networks regularly with other Soul Quest Church affiliates;

possesses an elected board of directors and a multi-member board of advisors/medicine elders; has
! implemented its formal Code of Ethics, Authorized Membership Agreement, and Articles of
Religious Practice; adopts its religious practices and principles via the Ayahuasca Manifesto:
ordains religious and lay ministers (with the former receiving credentials and authorizations
following completion of prescribed studies); and conducts sacramental services within its primary
mission of Providing healing to all beings, as as creatures of Mother Earth and Mother Earth.

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Case 6:20-cv-00701-WWB-DCI,._Document 13-2 _ Filed 05/04/20 Page 12 of 22 PagelD 146

qualified under the standards necessary to satisfy such classifications. Copies of
this recognition are attached, hereto. Like other religious institutions, Soul Quest
seeks to educate its members/adherents to the significance of the Church’s non-
involvement in secular political affairs.

6. Holidays .
Soul Quest observes the following religious holidays:
© December 23 - Winter Solstice
e March 21 ~ Vernal Equinox
e April22-EarthDay
¢ June 21 - Summer Solstice
© September 21 - Autumnal Equinox

As noted, Soul Quest's holidays, akin. to many diverse cultural and. religious traditions are

premised upon the ancient tradition of celebrating the change of seasons. and complementary
astronomical events.

7. Dietary Laws & Fasting Rituals
Soul Quest and its members adhere to the traditional diet of the Medicine People. The diet
not only requires abstention from consumption of certain foods; rather, it also requires discipline,
sacrifice and commitment, akin to those of various Judeo-Christian and Eastern teligious sects.

The constraints imposed by Soul. Quest's dictary laws are designed to cleanse the body
and, by doing so, cleanse the spirit and permit for the effective, efficient use of plant medicine.
Specifically, dietary laws restrict use of many spices, including salt and pepper, and also impose
periods of abstinence from sex or sexual activities. The key to such constraints is premised upon
the belief that the blandness of food and the lack of sexual stimulation will heighten sensitivity to
plant medicine and the communing with the Great Spirit.

Prior to any ayahuasca ceremony, Soul Quest members/adherents are to comply with the
following dietary and sexual edicts, designed to purify body and soul:

a. Seven days prior to involvement in any ayahuasca ceremony, refraining from:

i Drug use, including prescription drugs (medical interaction forms,
including in the supplement to this religious exemption application
provide further instruction), and any and all recreational drugs.

° Alcoholic beverages
° Sexual activity (whether with a parmer or from self-stimulation).

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Page 11
_.. Case.6:20-cv-00701-WWB-DCI_ Document 13-2 Filed 05/04/20 Page 13 of 22 PagelD 147

b, Three days prior to involvement in any ayahuasca ceremony, refrain from the .

following foods and beverages:

e Sugars or Artificial Sweeteners

* Sat

° Red Meat, Pork, Animal Fats
2 All Fermented foods, Soy Sauce, Miso, Sauerkraut
e Dairy Products, Aged Cheese

¢ — Caffeine (coffee, tea, sodas)

¢ Carbonated beverages

° Hot spices/peppers

a ‘Processed Food, Fried Food

® Overripe Fruits, Dried Fruits

c. Ail Soul Quest facilitators are expected to fast for the period spanning the
day prior to any ayahuasca ceremony, through to completion of any
ceremony. In doing so, those individuals also demonstrate a commitment
to the Great Spirit as embodied within the. plant medicine, and prepare for
acting as a surrogate for the Great Spirit during the ayahuasca ceremony.

8. R eremonial Vestments & A:

Sou! Quest requires its staff to observe proper liturgical dress during religious retreats and
- ceremonies. This entails the wearing of white vestments. Further, participants are requested to
wear white or light-colored, comfortable clothing throughout any such retreats or ceremonies.

The olor while is critical to the practice of religious ceremonies and retreats, and
performance of sacraments of the faith, for the following reasons:

@ It represents the color of etema! light and is an emblem of the divine. It
projects purity, cleanliness and neutrality.

® It aids in mental clarity, encourages staff and participants to clear mental

and spiritual clutter and obstacles, evokes purification of thoughts and
actions and enables fresh beginnings.

6 it accentuates free movement, all while maintaining maximum respect to
the Great Spirit, and all others participating in such functions.

Accordingly, men are expected to don loose fitting, white/light-colored pants, shirts, shorts,
tanks, t-shirts, long/short sleeved shirts. Meanwhile, women are expected to don loose fitting
white/light-colored dresses, pants, skirts, shorts, shirts, tanks, t-shirts, long/short sleeved shirts,

12]Page

Paget12

_ Case 6:20-cv-00701-WWB-DCI_ Document 13-2 Filed 05/04/20 Page 14 of 22 PagelD 148

9.  Propapation/Proselytizing of the Faith
Soul Quest and its adherents ‘utilize all methods of communications, social media, video
and printed materials to advertise and spread the sacred messages of our beliefs and ‘community
offerings. It does not charge others for engaging in‘ the sacrament of ayahuasca, All funds
collected through membership, retreat fees, tithing or donation arc used exclusively for sustaining
the retreat facility, ceremonial tools, property maintenance, staff salaries, food, additional expenses
incurred with the upkeep of the Church, and the expansion of the faith to others.

Soul Quest does not charge any fee its adherents. for participating in the sacrament of
ayahuasca. The non-charging of a fee is designed to maximize safety to participants and
. facilitators of the ceremony. It allows for Soul Quest to limit the number of individuals partaking
of the sacrament at any given ceremony. Accordingly, the sacrament is only offered to between
26-30 individuals at one time, with 8-10 facilitators present during any. given sacramental
ceremony. The.ayahuasca sacrament is performed three (3) times per month. In this manner, the
sacramental ceremonies can be performed in a manner designed to maximize safety and security
to all involved.

1 Pa & ion o t
The purpose and mission of Soul Quest is to:

* Provide its community with service, education, spiritual fellowship and
- healing.

° Safeguard the practices of Mother Earth/God and Goddess-based and
Native American spiritual traditions, ceremonies, sacred practices, wisdoms
and healing ways.

ie Provide an international training center, seminary school that offers
residency, practicum, ordination and training on traditional doctrines,
church beliefs to initiates, healers, practitioners, therapists, counselors,
clergy, pastors, ministers, shamans and doctors.

. Support the rights and culture of indigenous people, wherever found Mother

Earth, and to conduct ail activities as are protected under the First
Amendment's Free Exercise Clause, and under federal and state laws
including, but not limited to, the RFRA.

I. Safety & Security Pr for Ayahuasca Ceremonies

Soul Quest has designed implemented safety and security protocols, intended to maximize
the protection of those participants in Ayahuasca ceremonies. The following paragraphs describes
these affirmative measures:

13|Page —

Page 13

Case 6:20-cv-00701-WWB-DCI ..Document13-2 Filed 05/04/20. Page.15.0f 22. PagelD.149

A. Measures In Place Prior to Any Ayahuasca Ceremony

Those individuals designated to conduct Soul Quest ceremonies must first prove that they
have attained the requisite knowledge and expertisc in the following areas:

The Pharmacology of Ayahuasca -
The Risks & Contra-Indications of Ayahuasca

The Legal Implications Surrounding the Dispensing of Ayahuasca

First Aid

The Theory of Non-Ordinary States of Consciousness, and Therapeutic
Approaches

Possession of Extensive, Prior Personal Experience with Ayahuasca

The Ability to Work as a Team Member

Understanding of Soul Quest’s Religious Principles, Therapeutic Purposes of
‘Consuming Ayahuasca, and the Fundamental Moral & Ethical Tenets.

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B. Measures to Prepare Soul Quest Members for Participation i in
Sacred Ayahuasca Ceremonies

The following measures are in place in order to prepare Soul Quest Members for
participation in Ayahuasca ceremonies:

1, Prior to any ceremony, the Church transmits, via electronic mail,
educational material on Ayahuasca to all members anticipating participation
in the Ayahuasca ceremony. It is critical to ensure that members are well-
informed regarding the ceremony, and the requirements for properly
conducting themselves before, during and after the ceremony. The
following information is conveyed to these Soul Quest members:

a. The properties of Ayahuasca, its composition, its effects and
the potential risk.

The implications of drinking Ayahuasca.

The dietary restrictions before and after the session. .

The responsibilities of the staff and the participants.

The procedure and operation of the session. -

The process, in its entirety.

means

2. All Soul Quest members intending participation in the sacramental
ceremonies involving Ayahuasca are required to complete and return a
medical form prior to participation, to ascertain whether or not there are
potential medical limitations to such participation.

3. Soul Quest conducts individualized interviews with the member intending

to participate in the Ayahuasca ceremony. The purpose for these
interviews is to:

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Page 14
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Case 6:20-cv-00701-WWB-DCI

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a. Establish a rapport with the individual; ascertain their basis —
and willingness to participate in the sacred Ayahuasca ritual;
and to qualitatively assess current psychological and
physical status; and

b. _ (Re)assess.an individual who has previously participated i in
the Ayahuasca ceremony. .

Soul Quest presents and explains the mandatory consent form (titled,
“Participant Member Informed ‘Consent, Disclosuré & © Disclaimer:
Sanctified Healing Services/Counseling/Therapy). -

Soul Quest uses the information gathered through its described written and
oral: questions/interviews to determine whether or not to permit any given
individual to participate in the Church's sacred -Ayahuasca ceremony. The
acceptance of an individual’s participation in the ceremony is premised
upon:

a. Members demonstrating their understanding of the personal,
religious process entailed by their participation.

b. Accepting only members whose personal participation is
unlikely to require greater assistance (in time or resources)
than is available in the current context of the Ayahuasca
ceremony.

c, Determining whether members perhaps require additional
therapy prior to consuming the sacramental Ayahuasca tea,
Should additional therapy might potentially i involve advising

the member to seek appropriate, external professional
assistance.

In cases where any member’s participation in the sacred Ayahuasca
ceremony is declined by the Church, Soul Quest provides that member with
an explanation for its decision, and suggests alternative methods for
achieving suitable religious and therapeutic fulfillment. If Soul Quest
determines there to be doubts about any member’s suitability, then
participation in the Ayahuasca ceremony is not permitted.

ce. Pre-Ceremonial Procedures

The facilitators used by Soul Quest during the Ayahuasca ceremony are
trained to. know the strength of Ayahuasca, its ingredients, and the religious

and physiological impact from its use during the sacramental ceremony.

Under no circumstance is any administration of prepared Ayahuasca

Page 15.

Document 13-2 Filed 05/04/20. Page 16 of 22 PagelD 150

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Case 6:20-cv-00701-WWB-DCI

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16|Page

-Document13-2. Filed 05/04/20 Page 17 of 22 PagelD 151

sacramental tea permitted that has not been properly analyzed and tested by
those overseeing the ceremony.

Soul Quest requires al :5 tatio of facilitators-to-members to be present to
cater to all members participating. in the sacramental ceremony involving
Ayahuasca. Any higher ratio is not permitted, as.the security and health of
the participating members is deemed critical.

Soul Quest provides a safe, comfortable and secure venue at its Church,
with more than ample space, drinking water and toilet amenities.

Soul Quest further ensures member physical safety and comfort by
preparing the environment to acconimodate. individualized needs (6.8.,
removal of any objects presenting a possible hazard; providing mats,
blankets, pillows, buckets, paper tissues, etc.).

Sou! Quest has developed an emergency plan for various scenarios, and bas
educated its facilitation team to know and understand what steps to take i in
case of an emergency. This entails the following safeguards:
a. Pre-Screening for major health conditions of participants to
ensure the safety for ail.
b. The Church preexisting facilities to take participants to a
‘safe place away from the ceremony group to ensure their
safety in case of physical, mental issues or concerns. .
c. Providing all facilitators with ready access to a well-stocked
First Aid kit, blood pressure and any other necessary medical
equipment.
d. Ensuring that facilitators are certified in CPR.
e. Training facilitators to exercise proper authority on whether
to contact emergency services in the event of issues arising
that require such attention. An emergency station is a mere
three (3) minute commute from the Church property.
f. ‘Providing for evening facilitators to ensure participant safety
during the evening.

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Case 6:20-cv-00701-WWB-DCI_ Document 13-2 Filed 05/04/20 Page 18 of 22 PagelD152-

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D. Ceremonial Procedures

Soul Quest estimates and measures the correct dosage of Ayahuasca for
sacramental use, _ Dosage amounts are measured agcorditig to the member's

age, gender, experience, health condition ‘and. individual needs, Any .
uncertainty results in administration ofa smaller. dose. |

Soul Quest ensures member physical safety by. observing for any potential
hazards (e.g., removal of potentially dangerous objects; prohibiting any
operation of a motorized vehicle; preventing. any member from wandering
from the area where the sacrament is administered; preventing any member
from mistakenly sitting on another's palette/mat; etc.).

Soul Quest ensures each member's emotional safety, This includes, but is
not necessarily limited to, providing any necessary emotional Support; and
ensuring no harmful interactions between other members and/or assistants.

Soul Quest ensures that no member i is ever left alone during any part of the
ceremony.

- Soul Quest commits to the protection of, the integrity of, privacy of and

security of the members and their interactions during the Ayahuasca
sacramental ceremony.

Soul Quest ensures that no member is permitted to depart the ceremony.
prior to its closure, and then only until and unless first. checked by a
facilitator who confirms the member's ability to safely and securely depart.

Soul Quest checks each member prior to the ceremony’s closure, to ensurc
that he or she possesses stable emotional state of mind and physical
capacity.

Soul Quest is prepared to request additional assistance in the event of any
emergency or other critical situation, including contacting local Emergency
Medical Service (“EMS”) personnel and/or police.

Soul Quest never denies any request for assistance; safety is of paramount
concern.

In order to maximize potential benefits and experience during the
Ayahuasca ceremony, Soul Quest also implements the following:

a Optimization af Physical Position: Soul Quest suggests that
' participating members remain in an upright, seated position,
rather than lying down during the ceremony. This prevents

any risk of choking, in case of vomiting, and helps identify

Page 17

Case 6:20-cv-00701-WWB-DCI Document 13-2-Filed05/04/20__Page 19.0f 22. PagelD.153

18|Page

anyone who might confront a temporary loss of
consciousness. .

b. implementation of Non-Pharmacological Techniques: Soul
Quest will undertake focused breathing, active listening, and
stress the ‘serene presence’ through techniques designed to
calm any Member who might experience heightened -

emotions during the ritual,
E. - Post-Ceremonial Procedures

Soul Quest provides. its members with ample time for recovery prior to
departing the Church premises. Members who have participated in the
sacramental ceremony are provided with sufficient recovery. space;
traditionally, members return to their beds or remain in the ceremonial space
until morning. oO oO

close of the sacramental ceremony.

Soul Quest ensures ongoing support available for those requiting it after the

Soul Quest provides a group integration area, where the members can,

whether individually or in groups use creative materials (paper, pencils and
crayons for drawing, etc.), and as they continue to process their experience.
Soul Quest ensures that all members possess the opportunity to attend a

group integration process where they may share their experience with the
rest of the group.

Sou} Quest is mindful of the interventions. during group integration. An

active listening attitude transpires, without judgment of interpretation that

can narrow the amplitude of the experience. Soul Quest allows each
member to reach his/her own conclusions and interpretations of their
experience,

Soul Quest checks the physical and emotional state of all members prior to
departure, in order to ensure their continued safety and public safety.

Soul Quest offers the possibility of additional support after the ceremony,
providing contact information for any member to maintain post-ceremony
communication and necessary counseling and other aftercarc.

Soul Quest directs participants to a qualified professional if unable to
provide the level of support required during their integration/recovery

process. |

Page 18°

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9. In order to improve on the service and experience from the ceremony, Soul

-Quest employs an evaluation form to gather feedback about the ceremony,
the Church’s efforts, and the Church facility.

10. Soul Quest utilizes two (2) separate questionnaires (pre- and post- .
ceremony) on the well-being of members participating i in the sacramental
use of Ayahuasca, to measure the impact of the experience and to monitor
the integration/recovery process. The questionnaire is sent to the

participating member one () week prior to, and then one week following
the ceremony.

11. Soul Quest is mindful of its role as facilitators in this spiritual process, never
taking for granted the profound and/or enlightening experiences that any
member might experience during the ceremony. Soul Quest recognizes the
significance of remaining supportive of its members, while allowing each
participating member to direct their own spiritual energy into this process.
Ultimately, the member is the responsible for interpreting his or her own
spiritual evolution, discoveries and connections stemming from
participation in the Ayahuasca sacrament.

F. Storage & Use Protocols for Sacramental Use of Ayahuasca

Soul Quest undertakes rigid protocols to ensure the proper storage of the sacramental
medicines intended for use during the Ayahuasca sacramental ceremony. The sacrament and
medicines used during the ceremony are either prepared in the sacred traditions of the indigenous
tribes of the Amazon at our Church or procured from the indigenous tribes of the Amazon. All
such sacramental substances are stored in a locked cabinet, and are only accessible to two Church
:. elders. Further, all sacraments and other medicines are labeled with a preparation date, time and
quantity. Finally, the date and time when such substances are consumed is properly charted by
Soul Quest. It is the conviction of Soul Quest that it must maintain such records i in order to
maximize the safeguarding of the substances and their ritual uses.

IV. Ga of ACME

Ultimate authority lies in the Creator/Great Spirit of Ayahuasca as the head of the church
and in the sacred beliefs and doctrines expressed as the basis. For all faith and practice. This
church shall remain free and self-governing. The Government is vested in its membership and
administered by its officers. In function, final authority shall reside in the membership. They shall
approve and/or affirm SQCME qualified leadership, to carry out the purposes of the spirit of
Ayahuasca. Our leadership will hold leadership meetings to talk, brainstorm and agree on any
discipline or change that maybe required.

. Akin to other religious institutions, Sout Quest maintains multiple instruments for
governance of its affairs. Presently, this includes the following lay and religious officials/bodies:

Chief Executive Officer, Chief Medicine Man, Pastor, Chief Elder and Counselor: Chris Young

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Page 19.

President, Elder and Counselor: Verena Young
Director, Medicine Man/Woman, Elder and Counselor: TBD

Council of Elders: Constituted of selected senior members of Soul Quest, and occupying various
areas of specialization, as necessary for the maintenance and. welfare of the Church,

Further, other officers such as church administrator, secretary, visiting. ministers and

teachers/elders will be assigned with Board permission. Presently, pending future growth of the
Church, the Senior Pastor fills such duties.

A. Authority Granted to Soul Quest Lay & Religious Leadership

Soul Quest officers are authorized to take ail necessary and proper actions to develop. the
Church and its mission. Each calendar year, a full and complete accounting of the actions taken
is made available to Soul Quest members, via an annual Beneral meeting. At that time, a full
accounting of the preceding year’s activities is presented. The Soul Quest Board is designated to
meet monthly, or when otherwise deemed appropriate to discuss current issues, seasonal traditions
and plans for future events. Further, the financial affairs of the institution are reviewed semi-

annually by the Board, and are subject to annual reporting to Soul Quest's members.

B. Federal & State Religious Non-Profit Entity Recognition

Case 6:20-cv-00701-WWB-DCI Document 13-2. Filed-05/04/20.Page.21.of 22 PagelD.155

As referenced, above, Soul Quest holds the following federal and state tax treatments as a

religious-based, non-profit entity.

1 Soul Quest Church of. Mother Earth Inc. (SQCME).- Non-Profit
Corporation Federal Identification No.: 841402813, and Florida State Non-
Profit Corporation, founded by Medicine Man, Pastor, Chief Elder and
Counselor, Chris Young; and its Elder and Counselor, Verena Young.

2.. Soul Quest Ayahuasca Church of Mother Earth Retreat and Wellness Center
(SQACME), as an independent branch or Free Church of SQCME; Florida
State Non-Profit Corporation 501 IRS-compliant Non-Profit was first
incorporated July 15, 2016, with its Charter Declaration also entered on July
15, 2016, recognizing its founders, Medicine Man, Pastor, Chief Elder and
Counselor Chris Young; and Elder and Counselor Verena Young.

All documentations reflecting the above statuses are included within the supplement to this
exemption application.

c. Membership

Soul Quest receives all individuals as members who accept the spiritual and religious
principles of the Church, as well as recognize the fruits of the Great Spirit in their lives, and who

20|Page

Page 20

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_ Case 6:20-cv-00701-WWB-DCI Document 13-2 Filed 05/04/20 Page 22 of 22 PagelD 156

agree to abide by Church’s doctrine. The only requirement for membership is a singular request:
the individual must express a belief in the foundation principles of the Soul Quest Church.

De Provisions for By-Laws and. Poliey Manual

Soul Quest i is governed by its Constitution and By-Laws, both of which are attached as a
supplement to this exemption application. These documents embody the stated qualifications for
church leaders and officers. Further, the By-Laws define officers’ duties, provisions for
appointment of additional leaders and teachers, conditions for membership, methods by which new
members are received, and identify other rules and regulations for church activities, as needed.
Last, a Policy Manual — also included in the supplement to this exemption. application -

encompasses all other operational matters including, but not limited to, job descriptions for all
Church personnel,

Yv,

In conclusion, Soul Quest reiterates its request for a religious-based exemption from the
provisions of the Controlled Substances Act, as pertaining to its ritual use of ayahuasca in its
conducting holy sacraments. Soul Quest remains confident that a review of this application,
inclusive of all supplemental materials, will result in the granting of the requested exemption. Of
course, Soul Quest welcomes the opportunity to address any questions or issues raised by the Drug
Enforcement Administration or its cooperating agents in its consideration of this exemption

application.
Sincerely, oo
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DEREK B, BRETT
Legal Counsel for Soul Quest
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Page 21

